Case 1:96-cr-10060-.]DT Document 533 Fiied 06/08/05 Page 1 of 6 PageiD 85

uNlTEo sTATEs olsTRlcT couRT r//ED _,_},/
wEsTERN DisTRlcT oF TENNESSEE ‘ ii=:L______ ___,_
EAsTERN DlvlsloN
uNlTED sTATEs oF AMERch
.v. 96-10060~06-T
ANGELA BALLARD

 

A. Russe|i Larson. CJA
Defense Attorney

211 E. Main Street
Jackson, TN 38301

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1l 1987)

The defendantwas found guilty on Count1 ofthe Superseding indictment on December12,
1997. Accordingly, the court has adjudicated that the defendant is guilty of the following

 

offense(s):
Date Offense Count
Title & section dam concluded Number(si
2‘| U.S.C. § 846; 18 Conspiracy to Possess with intent to 05/31/1996 1
U.S.C. § 2 Distribute Controiled Substance -

Niarijuana; Aiding and Abetting

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/iandatory
Victims Restitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant‘s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant‘s Date of Birth: 02/14/ 1963 June OB, 2005
Deft’s U.S. i\riarshal No.: 05920-078

Defendant‘s iVlaiiing Address:
300 Pecan Street
Wiimer, TX 75172

A.M

JAM D. TODD
CH F UN|TED STATES D|STR|CT JUDGE

This document entered on the docket heat in mpila_nce ___une 2005
with Ftuie 55 and!or 32(b) FRCrP on » 25 ,

Case 1:96-cr-10060-.]DT Document 533 Fiied 06/08/05 Page 2 of 6 PageiD 86

Case No: 1196cr10060-06-T Defendant Name: Angela Bailard Page 2 0f 5

lMPRlSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 46 Months as to One (‘i) Count Superseding
indictment

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States i\/iarshai.

RETURN

i have executed this judgment as foiloWs:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified Copy of this
judgmentl
UN|TED STATES lViARSHAL
By:

 

Deputy U.S. Marshai

Case 1:96-cr-10060-.]DT Document 533 Fiied 06/08/05 Page 3 of 6 PageiD 87

Case No; 1:960r10060-06-T Defendant Name: Angeia Bailard Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years as to the One (1) Count Superseding indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised releasel the defendant shall not commit another federai, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district withoutthe permission of the court or probation officer',

2. The defendant shall report to the probation officer as directed by the court or probation officer and shai|
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
sohooiing, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shali not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation offlcer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, usedl
distributed, or administered;

Case 1:96-cr-10060-.]DT Document 533 Fiied O6/O8/O5 Page 4 of 6 PageiD 88

Case No: 1:96cr10060-06-T Defendant Name: Angeia Bailard Page 4 of 5

8. The defendant shall not associate with any persons engaged in criminal activity, and shaft not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permits probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

li. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation ofhcer to make such notifications and to conHrm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminai Nionetary Penalties sheet of this judgment

ADD|T|ONAL COND[TIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

i. The defendant shall participate as directed in a program of testing and treatment for drug
and alcohol abuse as directed by the Probation Officer until such time as the defendant is
released from the program by the probation officer.

2. The defendant shall cooperate with the United States Probation office in the collection of
DNA.

CRIM|NAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

Case 1:96-cr-10060-.]DT Document 533 Fiied O6/O8/O5 Page 5 of 6 PageiD 89

Case No: 1:960r10060-06-T Defendant Name: Angeia Bailard Page 5 of 5

The Special Assessment shall be due immediately
FlNE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

UNITED sTEAT DISTRICT COURT- WESTERN DISTRiCT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 533 in
case 1:96-CR-10060 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Richard Leigh Grinaids

U.S. ATTORNEY'S OFFICE
109 S. Highiand Ave.

Ste. 300

Jackson7 TN 38301

Jennifer Lavvrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

